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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
                           WASHINGTON, D.C.

UNITED STATES OF AMERICA

v.                                                        CRIMINAL CASE NO.
                                                          1:21-CR-00116-DLF

WILLIAM MCCALL CALHOUN, JR.
     Defendant.


                          MOTION TO ACCEPT LATE FILING

       COMES NOW, Defendant, William McCall Calhoun, Jr., by and through

undersigned counsel, and moves this Court, for good cause shown, for the entry of an

order accepting Defendant’s late filed Reply to the United States’ Post-Trial Brief.

       As grounds for this Motion, undersigned counsel states as follows:

          1. By this Court’s March 5, 2023 Order, post-trial briefs were to be filed by

             March 9, 2023, and replies to the post-trial briefs were to be filed by March

             14, 2023.

          2. On March 12, 2023, this Court then ordered the Government to file a

             supplementary brief by March 14, 2023.

          3. Counsel for Defendant has been overwhelmed with other case related work

             since having coming back from Washington, DC in the evening of March 2,

             2023. Including sixteen hearings last week, this Court’s post-trial filing
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              deadline, and three other case related filing deadlines by this past Sunday at

              11:59 PM. There has not been enough hours in each day to get everything

              done, and quite honestly, undersigned counsel got a late start drafting the

              Defendant’s Reply to the United States’ Post-Trial Brief.

           4. Defendant’s reply is being filed in the early morning hours of March 15,

              2023, so it will be before this Court and opposing counsel by the start of

              everyone’s day on March 15th.

           5. The Government will not be prejudiced by this Court’s acceptance of

              Defendant’s late filed reply because they are not ordered to respond to the

              reply, and again, they will likely be seeing this reply at the same time they

              would have seen a reply filed at 11:59 PM on March 14th.

       WHEREFORE, Defendant respectfully requests that this Court enter an order

accepting the late filing of his Reply to the United States’ Post-Trial Brief.

       A proposed Order is included.

       The Reply is included as exhibit A to this Motion.

       Respectfully submitted, this 15th day of March 2023.

                                                    /s/ Jessica N. Sherman-Stoltz
                                                    JESSICA N. SHERMAN-STOLTZ, ESQ.
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                             CERTIFICATE OF SERVICE

      I hereby CERTIFY that on this the 15th day of March 2022, a true and correct copy

of the foregoing Motion to Accept Late Filing was filed with the Clerk of Court via the

CM/ECF system, which will automatically send an email notification of such filing to all

counsel of record.



                                         /s/ Jessica N. Sherman-Stoltz_
                                        Jessica N. Sherman-Stoltz, Esq.
                                        Virginia State Bar #90172
                                        Sherman-Stoltz Law Group, PLLC.




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